       CaseCase
            2:18;2:18-mj-02264-DUTY Document
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AO 93 (Rev. 11/ 13) Search and Seizure Warrant (USAO COCA Rev. 04/ 17)



                                           UNITED STATES DISTRICT COURT
                                                                             for the
                                                                                                                          D ORIGI NAL
                                                               Central District of California

                  In the Matter of the Search of                                )
              (Briefly describe the property to be searched                     )
               or identify the person by name and address)                      )      Case No.     2:18-MJ-02264
                                                                                )
                     2157 Sheringham Lane
                                                                                )
                     Los Angeles, CA 90077
                                                                                )

                                                  SEARCH AND SEIZURE WARRANT
To:       Any authorized law enforcement officer
         An application by a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located in the           Central            District of               California
(identify the person or describe the property to be searched and give its location):

See Attachment A


        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):

See Attachment B

Such affidavit or testimony are incorporated herein by reference and attached hereto.

          YOU ARE COMMANDED to execute this warrant on or before                              14 days from the date of its
                                                                                                        issuance           (not to exceed 14 days)
      IZ! in the daytime 6:00 a.m. to 10:00 p.m.               0    at any time in the day or night because good cause has been established.

        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
                                                                           the U.S. Magistrate Judge on duty at the time of the
as required by law and promptly return this warrant and inventory to
                                                                              return through a filing with the Clerk's Office
                                                                                                      (United States Magistrate Judge)

     0Pursuantto 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)
     0 for         days (not to exceed 30) 0 until, the facts justifying, the later specific date of


Date and time issued:           Au.s!:'_st 27, 2018           / :5'S'°p. ..,.
                                                                         '
City and state:             _L_o_s_A
                                   _n__,g.._e_le_s--',_
                                                     - C_A_ _ _ _ _ _ __               Hon. Alexander F. MacKinnon.1._lJ._S. Magistrate Judge
                                                                                                            Printed name and title
AUSA: DOJ Trial Attorney Rich Rolwing I AUSA M. Williams x 3359
          Case
       Case 2:18;2:18-mj-02264-DUTY Document
                  mj-0?264-DUTY *SEALED*     3 Filed1-1
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                                                                    Return
Case No.:                             I Date and time warrant executed:            Copy of warrant and inventory left with:
                                 9;/~?f!j~ q:'J://1111 ~,k 0-tCc--rcqt:r~
Inventory made in the presence of: c[;/,4- ?or:ft:,. /

Inventory of the property taken and name of any person( s) seized:




                            ~i/t~f~ ~/crr1
                                                                                                            -
                                                                                                ~



                                                                          ..,..-




          :                                                                        C:=.7 -

                                                                  Certification


        I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.



Date     0/J?;/(ct'
                                                                              jffk£'""i[t;;;;'"~Pede,/ !lprr
